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                                UNITED STATES DISTRICT COURT
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                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                        WESTERN DIVISION
11
       UNITED STATES OF AMERICA,                    Case No. 2:21-cv-06966-RGK-MAR
12
                   Plaintiff,           [PROPOSED] ORDER GRANTING
13                                      PLAINTIFF UNITED STATES OF
                        v.              AMERICA’S APPLICATION
14                                      PURSUANT TO 18 U.S.C. § 981(g)(5)
       $399,000.00 IN U.S. CURRENCY AND AND LOCAL RULE 79-6 TO FILE OR
15     MISCELLANEOUS ITEMS OF           LODGE IN CAMERA A NON-PUBLIC
       JEWELRY,                         DECLARATION IN SUPPORT OF
16                                      PLAINTIFF’S MOTION FOR AN
                  Defendants.           ORDER TO STAY THIS CIVIL
17                                      FORFEIUTRE PROCEEDING [26]
18     DERRICK POLK,
19                 Claimant.
20
21           Plaintiff United States of America (“the government”) has applied to this Court
22     pursuant to 18 U.S.C. § 981(g)(5) and Local Rule 79-6 for an order to file or lodge in
23     camera a non-public declaration in support of the government’s motion for an order to
24     stay this civil forfeiture proceeding. Upon consideration of the application and the entire
25     record, and good cause appearing therefor,
26           IT IS HEREBY ORDERED that the government’s application is granted. The
27     non-public declaration in support of the government’s motion to stay this civil forfeiture
28     proceeding shall be filed or lodged in camera pursuant to 18 U.S.C. § 981(g)(5) and
     Case 2:21-cv-06966-RGK-MAR Document 35 Filed 03/01/22 Page 2 of 2 Page ID #:379




1      Local Rule 79-6 and shall not be disclosed to any person, including the persons that have
2      filed claims in this action (i.e., claimant Michael Magee), unless otherwise ordered by
3      the Court.
4      Dated: March 1, 2022                                                                      _
                                             THE HONORABLE
                                                 HONORABLE R. GARY KLAUSNER
5                                            UNITED STATES DISTRICT JUDGE
6
7      Presented By:

8      TRACY L. WILKISON
       United States Attorney
9      SCOTT M. GARRINGER
       Assistant United States Attorney
10     Chief, Criminal Division
       JONATHAN GALATZAN
11     Assistant United States Attorney
       Chief, Asset Forfeiture Section
12
13           /s/
       VICTOR A. RODGERS
14     MAXWELL COLL
       Assistant United States Attorney
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       Attorneys for Plaintiff
16     UNITED STATES OF AMERICA
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